                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:20-CV-595-FDW-DCK

 JENNIFER MCCREARY,                                   )
                                                      )
                Plaintiff,                            )
                                                      )
    v.                                                )      ORDER
                                                      )
 FILTERS FAST, LLC,                                   )
                                                      )
                Defendant.                            )
                                                      )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 6) filed by Colin Dailey, concerning Joshua A. James on

November 6, 2020. Joshua A. James seeks to appear as counsel pro hac vice for Defendant Filters

Fast, LLC. Upon review and consideration of the motion, which was accompanied by submission

of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 6) is GRANTED. Joshua A. James

is hereby admitted pro hac vice to represent Defendant Filters Fast, LLC.



                                  Signed: November 9, 2020




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